Case 8:14-cr-00064-E_K-TGW Document 487 Filed 04/20/16 Page 1 of 3 PageID 3718




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

      UNITED STATES OF AMERICA

      v.                                                    Case No. 8:14-cr-64-T-17TGW

      YOEL EMILIO BAEZ-HERNANDEZ

                       AMENDED FINAL JUDGMENT OF FORFEITURE

             THIS CAUSE comes before the Court upon the United States’ Motion for an

      Amended Final Judgment of Forfeiture, pursuant to 21 U.S.C. § 853(n)(7), and

      Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, for Liquor License

      Number BEV2300101.

             On August 1, 2014, the Court entered a Preliminary Order of Forfeiture for

      the Liquor License. Doc. 262.

             The Court finds that in accord with 21 U.S.C. § 853(n) and Rule

      32.2(b)(6)(C), the United States published notice of the forfeiture and of its intent to

      dispose of the assets on the official government website, www.forfeiture.gov. from

      August 12, 2014 through September 10, 2014. Doc. 339. The publication gave

      notice to all third parties with a legal interest in the asset to file with the Office of the

      Clerk, United States District Court, Middle District of Florida, Sam Gibbons Federal

      Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a

      petition to adjudicate their interest within 60 days of the first date of publication.

             The Court further finds that, in accord with the requirements of 21 U.S.C. §

      853(n), the United States sent notices of this forfeiture action, via United States
Case 8:14-cr-00064-E_K-TGW Document 487 Filed 04/20/16 Page 2 of 3 PageID 3719




      certified and first class mail to Yasmina Santos, Yeleinys Morejon Santos, Yoanri

      Baez Hernandez, Emilio Baez, J & E Adventure, Inc., LeJune Liquors, Premier

      Beverage Company, and Consolidated Wine. In addition, as reflected in the

      Settlement Agreement, Vincente Cruz and Ursula Cruz had notice of the forfeiture

      proceeding. The aforementioned are the only known parties or entities with an

      alleged legal interest in the assets. No person or entity, other than the defendant

      (whose interest in the assets was forfeited to the United States in the Preliminary

      Order of Forfeiture), Yeleinys Morejon Santos, J & E Adventure, Inc., LeJune

      Liquors, Premier Beverage Company, and Consolidated Wine (who did not file a

      claim), Emilo Baez (whose claim was denied), Yasmina Santos and Yoanri Baez

      Hernandez (who have no legal interest), and Vincente Cruz and Ursula Cruz

      (whose claim was recognized and settled) are known to have an interest in the

      assets. No other third party has filed a petition or claimed an interest in the assets,

      and the time for filing a petition has expired.

             The Court further finds that Vincente Cruz and Ursula Cruz have purchased

      the United States’ interest in the Liquor License.

             Accordingly, it is hereby:

             ORDERED, ADJUDGED, and DECREED that for good cause shown, the

      United States’ motion is GRANTED.

             It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7), 18

      U.S.C. § 982(b)(1), and Federal Rule of Criminal Procedure 32.2(c)(2), all right,


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Case 8:14-cr-00064-E_K-TGW Document 487 Filed 04/20/16 Page 3 of 3 PageID 3720




      title and interest in the Liquor License Number BEV2300101 (other than Vincente

      Cruz and Ursula Cruz’ interest) is CONDEMNED and FORFEITED to the United

      States for disposition according to law.

             Pursuant to the Settlement Agreement and purchase of the United States’

      interest in the Liquor License by Vincente Cruz and Ursula Cruz, title to the Liquor

      License is now vested in Vincente Cruz and Ursula Cruz.

             DONE and ORDERED in Tampa, Florida, this                          day

      of        ___________________ , 2016.




      Copies to:                                       ELIZABETH A. KOVACHEVICH_
      Holly L. Gershow, AUSA                           United states district ju d g e
      Counsel of Record




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